Case 21-05166-grs      Doc 230    Filed 07/26/22 Entered 07/26/22 14:00:52         Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF KENTUCKY
                               LEXINGTON DIVISION

IN RE:                                  )
HDR FARMS INCORPORATED,                 )                  Chapter 11
                                        )
      Debtor                            )                  CASE NO. 20-50888-GRS
_______________________________________ )
                                        )
HDR FARMS INCORPORATED                  )                  A.P. No. 21-05166-grs
LIQUIDATING TRUST,                      )
                                        )
      Plaintiff                         )
                                        )
v.                                      )
                                        )
APPLIED BOTANICS LLC f/k/a              )
XSI USA, LLC; COZEN O’CONNOR;           )
KAWEL LAUBACH; DEAN JOHNSON             )
ANNETTE COX; CHARLES THOMAS             )
“TODD” MERCER; and APPLIED              )
BIOLOGY LLC                             )
                                        )
      Defendants                        )
_______________________________________ )



                        NOTICE OF WITHDRAWAL OF
               RE-NOTICE TO TAKE DEPOSITION OF ANNETTE COX

       Comes Defendant, Cozen O’Connor, by counsel, and hereby withdraws its Re-Notice to

Take Deposition of Annette Cox (Doc. No. 226) previously filed herein in error.
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                                                Respectfully submitted,

                                                /s/ Barry D. Hunter
                                                Barry D. Hunter
                                                Adam R. Kegley
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                                                bhunter@fbtlaw.com
                                                akegley@fbtlaw.com
                                                Counsel for Defendant Cozen O’Connor


                                    CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing was served on the 26th day
of July, 2022 to all parties served by the Court via CM/ECF noticing.



                                                /s/ Barry D. Hunter
                                                Counsel for Defendant Cozen O’Connor




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